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                        IN THE UNITED STATES DISTRICT COURT


                        FOR THE EASTERN DISTRICT OF VIRGINIA


                                     RICHMOND DIVISION



UNITED STATES OF AMERICA


                                                          CASENO. 3:19CR00014-1 (REP)


MICHAEL L. BYRD,
                       Defendant.



                                             ORDER


       This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance ofthe Defendant's plea of guilty to

specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding conducted by

the Magistrate Judge with the consent of the Defendant and counsel. It appearing that the

Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant was given

notice of the right to file specific objections to the report and recommendation that has been

submitted as a result ofthe proceeding; and it further appearing that no objection has been asserted

within the prescribed time period, it is hereby

       ORDERED that the report and recommendation ofthe Magistrate Judge is ADOPTED and

the Defendant is found guilty of Count One of the Indictment.




                                                              /s/
                                                     Robert E. Payne
                                                     Senior United States District Judge

Dated: April J_U20\9
